                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                            3:20-CR-00202-RJC-DSC
USA                                           )
                                              )
    v.                                        )                ORDER
                                              )
JOSH GARDNER (2)                              )
                                              )

         THIS MATTER is before the Court upon the government’s motion to dismiss

the indictment as to Josh Gardner without prejudice upon the death of the

defendant, who was awaiting sentencing. (Doc. No. 63).

         IT IS, THEREFORE, ORDERED that the indictment, (Doc. Nos. 3, 23), as

to this defendant is DISMISSED without prejudice.

         The Clerk is directed to certify copies of this order to counsel for the

defendant, the United States Attorney, the United States Marshals Service, and the

United States Probation Office.

 Signed: November 9, 2021




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